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                         Tel: +1.650.843.4000
                    10   Fax: +1.650.843.4001
                    11   Attorneys for Respondents
                         TWITTER, INC.; X HOLDINGS I, INC.;
                    12   X HOLDINGS CORP.; X CORP.; ELON MUSK
                    13
                                                 UNITED STATES DISTRICT COURT
                    14
                                               NORTHERN DISTRICT OF CALIFORNIA
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                         SARAH ANOKE, CATHERINE BONN,            Case No. 3:23-cv-02217
                    17   ISABELLE CANNELL, MELANIE EUSEBIO,
                         SAMANTHA FESTEJO, CARLOS MOISES         RESPONDENTS’ SUPPLEMENTAL
                    18   ORTIZ GOMEZ, DAWN HOISE, WAYNE          RULE 7.1 CORPORATE
                         KRUG, LAURENT LUCE, PATRICK             DISCLOSURE STATEMENT AND
                    19   O’CONNELL, JENNIFER RYAN, JAIME         CERTIFICATION PURSUANT TO
                         SENA, JAMES SHOBE, KARYN                LOCAL RULE 3-15
                    20   THOMPSON, AND CRISTIAN ZAPATA,
                                                                 PUBLIC - REDACTED
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                                           Petitioners,
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                                     v.
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                         TWITTER, INC., X HOLDINGS I, INC., X
                    24   HOLDINGS, CORP, X CORP, AND ELON
                         MUSK,
                    25                     Respondents.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                RESPONDENTS’ SUPPLEMENTAL
 ATTORNEYS AT LAW                                                          RULE 7.1 CORP DISCLOSURE STMT
  SAN FRANCISCO                                                                        Case No. 3:23-cv-02217
                     1          Pursuant to Northern District of California Civil Local Rule 3-15 and Rule 7.1 of the

                     2   Federal Rules of Civil Procedure, Respondent X Corp. as successor in interest to named

                     3   Respondent Twitter, Inc., by and through its counsel, certifies that Twitter, Inc. has been merged

                     4   into X Corp. and no longer exists. Respondent X Holdings Corp., as successor in interest to

                     5   named Respondent X Holdings I, Inc., by and through its counsel, certifies that X Holdings I, Inc.

                     6   has been merged into X Holdings Corp. and no longer exists. X Corp. is wholly owned by X

                     7   Holdings Corp. No publicly held corporation owns 10% or more of X Corp.’s or X Holdings

                     8   Corp.’s stock.

                     9          Pursuant to the Court’s Order Granting Plaintiffs’ Administrative Motion Directing

                    10   Defendants to Supplement Corporate Disclosure Statement, Respondents disclose the following

                    11   persons and entities who are owners/shareholders of X Holdings Corp. (ECF No. 35):

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MORGAN, LEWIS &
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  SAN FRANCISCO                                                                                       Case No. 3:23-cv-02217
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MORGAN, LEWIS &                   RESPONDENTS’ SUPPLEMENTAL
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 ATTORNEYS AT LAW
  SAN FRANCISCO
                                             Case No. 3:23-cv-02217
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                     6          Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, there is no

                     7   conflict or interest (other than the named parties and the above-listed owners/shareholders of X

                     8   Holdings Corp.) to report.

                     9   Dated: June 9, 2023                     MORGAN, LEWIS & BOCKIUS LLP
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                                                                 By    /s/ Eric Meckley
                    11                                                Eric Meckley
                                                                      Brian D. Berry
                    12                                                Ashlee N. Cherry
                                                                      Kassia Stephenson
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                                                                      Attorneys for Respondents
                    14                                                TWITTER, INC.; X HOLDINGS I, INC.;
                                                                      X HOLDINGS CORP.; X CORP.; ELON MUSK
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MORGAN, LEWIS &                                                                             RESPONDENTS’ SUPPLEMENTAL
 BOCKIUS LLP                                                               5               RULE 7.1 CORP DISCLOSURE STMT
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                       Case No. 3:23-cv-02217
